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                                                                    201-487-3800 (Main) | 201-487-8529 (Main Fax)


    Via ECF                                                                         Michael J. Cohen, Esq.
                                                                                    Principal
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    May 20, 2025
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    Hon. Cathy L. Waldor, U.S.M.J.
    U.S. District Court for the District of New Jersey
    Martin Luther King Jr. U.S. Courthouse
    50 Walnut Street
    Newark, New Jersey 07101

                        Re:    Nano Fire LLC v. Halma PLC et al.
                               Case No. 23-cv-3562-BRM-CLW

    Dear Judge Waldor:

            We represent Plaintiff Nano Fire LLC ("Plaintiff") in the above-mentioned matter. During our
    conference before Your Honor on Tuesday, May 13, 2025 (re the issues in ECF Nos. 71 and 72), Plaintiff
    acceded to Defendants’ demand that it file a Motion for Authorization to include in the Parties' Proposed
    Pretrial Scheduling Order a deadline by which Plaintiff Nano Fire LLC shall serve its amended asserted
    patent claims and its amended infringement contentions on Defendants (the “Motion”).

            We note that because of the issues in ECF Nos. 71 and 72, the Parties have yet to file their final
    stipulated Proposed Pretrial Scheduling Order in response to ECF No. 67. To this end, and per Your
    Honor’s instructions, the parties have conferred and submit the following briefing schedule:

                        Initial Filing Deadline:    June 13, 2025
                        Deadline for Opposition:    June 23, 2025
                        Deadline for Reply:         June 30, 2025
                        Return Date:                July 7, 2025

    If acceptable to the Court, we ask that Your Honor “so order” this schedule. Should the Court have any
    questions, please do not hesitate to reach out to counsel.

                                                    Respectfully submitted,
SO ORDERED:

s/ Cathy L. Waldor                                  s/ Michael J. Cohen
HON. CATHY L. WALDOR, U.S.M.J.                      Michael J. Cohen
Dated: 5/21/25                                      -and-
                                                    Panagiota Betty Tufariello (admitted pro hac vice)
    Cc:       All counsel of record (via ECF)




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